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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12                                                        Case No. 16-CR-00519-LHK-1
Northern District of California
 United States District Court




                                         UNITED STATES OF AMERICA,
                                  13                                                        PRETRIAL CONFERENCE ORDER
                                                        Plaintiff,
                                  14
                                                 v.
                                  15
                                         JOHNNY RAY WOLFENBARGER,
                                  16
                                                        Defendant.
                                  17

                                  18   Counsel for the Government: Marissa Harris and Jeffrey Nedrow
                                       Counsel for Defendant: Severa Keith
                                  19
                                              On February 5, 2020, the Court held a pretrial conference.
                                  20
                                       Further Status Conference
                                  21
                                              The Court hereby schedules a status conference on February 12, 2020 at 9:15 a.m. to
                                  22
                                       discuss the status of the Government’s anticipated superseding indictment and whether the parties
                                  23
                                       would be available to begin trial on Thursday, March 12, 2020.
                                  24
                                       Trial Dates
                                  25
                                              The Court set the trial for six days, beginning with jury selection, reading of the
                                  26
                                       preliminary jury instructions, and opening statements on March 13, 2020, and continuing on
                                  27
                                       March 16, 19, 20, 23, and 24. As discussed above, the parties shall update the Court no later than
                                  28                                                  1
                                       Case No. 16-CR-00519-LHK-1
                                       PRETRIAL CONFERENCE ORDER
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                                   1   the February 12, 2020 status conference whether the parties are able to advance the trial to March

                                   2   12, 2020.

                                   3   Motion to Suppress (ECF No. 265)

                                   4          The Court granted Defendant’s request to file a supplemental brief, of no more than 3

                                   5   pages, by February 6, 2020. The Government shall file an opposition by February 19, 2020, and

                                   6   no reply will be permitted. The parties agreed that no evidentiary hearing is necessary.

                                   7   Government Motion in Limine No. 2 (ECF No. 233)

                                   8          The Court ordered the Government to file a reply to Defendant’s opposition, ECF No. 245

                                   9   at 4–7, by February 24, 2020.

                                  10   Jury Selection

                                  11          By February 19, 2020, the parties shall file and email to the Courtroom Deputy a Microsoft

                                  12   Word version of a joint list of entities, individuals, dates, and locations for jury selection purposes.
Northern District of California
 United States District Court




                                  13   The list shall also include a March calendar showing the trial dates.

                                  14          Each side will have 15 minutes for attorney voir dire. The Government will have 8

                                  15   peremptory challenges, and Defendant will have 12 peremptory challenges total. 12 jurors and 4

                                  16   alternates will be selected.

                                  17   Stipulations

                                  18          The deadline for stipulations is February 19, 2020. If the government cannot obtain a

                                  19   stipulation on the custodian of records and needs to file a motion, any such motion will be due to

                                  20   the Court on February 21, 2020, and any opposition will be due on February 25, 2020. No replies

                                  21   will be permitted.

                                  22

                                  23   IT IS SO ORDERED.

                                  24   Dated: February 5, 2020

                                  25                                                     ______________________________________
                                                                                         LUCY H. KOH
                                  26                                                     United States District Judge
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                                       Case No. 16-CR-00519-LHK-1
                                       PRETRIAL CONFERENCE ORDER
